                         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 1 of 14

Pro Se 15 (Rev. 12/16 Comolaint for Violation of Civil Rights (NonPrisoner




                                       UNITED STATES DISTRICT COURT
                                                                             for the
                                                                                                                          P91         )r D' u'.
                                                                                                                                 U's' co                    :;
                                                            Western District of Texas                                              u.   s
                                                                                                  []
                                                                                                                        5    I   IR DISTRICT     OF     iEXA
                                                                                    Division                                                ________
                                                                                                                                                 flFPU I         '
                    Heather Hansen, pro se
                                                                                       CaseNo.
                                                                                )                      (to be filled in by the Clerk's Office)

                             Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.                                                  Yes            No
                                                                                /      Jury Tnal: (check one)
If the names of all the plaintzJJs cannot fit in the space above,
please write "see attached" in the space and attach an additional               )
page with the full list of names.)                                              )
                                 -v-                                            )
                          "see attached"                                        )

                                                                                       EP22CVO293
                            Defendant(s)                                        )
(Write the full name of each defendant who is being sued. If the                )
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list ofnames. Do not include addresses here.)

                                       rF
                                      teiL
                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                           (Non-Prisoner Complaint)


                                                                        NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




                                                                                                                                                 Page   1   of       6
                         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 2 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (NonPrisoner)


I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         Heather Hansen
                           Address                                      1220 Prairie Dr.
                                                                        El   Paso                          Tx                   79925
                                                                                       City               State                 Zip Code
                           County                                        Paso
                                                                        El
                           Telephone Number                            469-475-3177
                           E-Mail Address                              heather20hansen20@gmail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No.        1


                           Name                                         Texas Tech University System
                           Job or Title       (fknown)                  Government agency
                           Address                                      1508 Knoxville Avenue
                                                                        Lubbock                            TX                   79409
                                                                                       City                Slate                Zip Code

                            County                                      Lubbock
                            Telephone Number                            806-742-2011
                            E-Mail Address (if known)

                                                                                Individual capacity   [I] Official   capacity


                      Defendant No. 2
                            Name                                        Texas Tech University Health Science Center El Paso
                            Job or Title (if known)                     Government agency
                            Address                                     5001 El Paso Dr.
                                                                        El     Paso                        TX                    79905
                                                                                       City                State                Zip Code

                            County                                      El     Paso
                            Telephone Number                            915-215-8000
                            E-Mail Address 41known)

                                                                                Individual capacity       Official capacity




                                                                                                                                           Page 2 of 6
                         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 3 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (NonPrisoner)


                     Defendant No.       3
                           Name                                        Texas Tech Police Department

                           Job or Title (if known)                     Government agency
                           Address                                     413 Flint Avenue
                                                                        Lubbock                          TX                 79415
                                                                                      City               State              Zip Code

                           County                                       Lubbock
                           Telephone Number                             806-742-3931
                           E-Mail Address (f known)

                                                                               Individual capacity      Official capacity


                     Defendant No. 4
                           Name                                         George C. Stoltz

                           Job or Title (// known)                      Lieutenant, Texas Tech Police
                           Address                                      5001 El Paso Dr.       Texas Tech Police Department
                                                                        El Paso                           TX                79905
                                                                                      Cty                State              Zip Code

                           County                                       El Paso
                           Telephone Number                             915-215-7111
                           E-Mail Address 4f known)                     George.C.Stoltzttuhsc.edu

                                                                               Individual capacity      Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 US. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

           A.        Are you bringing suit against (check all that apply):

                            Federal officials (a Bivens claim)

                            State or local officials (a       § 1983   claim)

           B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                     Federal constitutional violations: Violation of Due Process and Equal Protection under the Fourteenth
                     Amendment, First Amendment rights violation;

                     Statutory rights violations: Official oppression, intentional infliction of emotional distress



           C.        Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?

                                                                                                                                       Page 3 of 6
                         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 4 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation   of Civil Rights (NonPrisoner)

                     N/A




          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                     N/A




ill.     Statement of Claim

          State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
          alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
          further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
          any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
          statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.         Where did the events giving rise to your claim(s) occur?
                     Texas Tech Univeristy Health Science Center El Paso; Texas Tech University System property




          B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      December 1,2021; July 19,2022; August, 11-12, 2022- current




          C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)
                      "see attached"




                                                                                                                         Page 4 of 6
                         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 5 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (NonPrisoner)




IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
         Intentional inflictional of emotional distress. Emergency detention order - hospital observation and psychiatric
         treatment.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
          Preliminary injunctive relief to be permitted on Texas Tech Univeristy System property. Compensatory and
          punitive damages against all Defendants in an amount to be determined at trial. Reasonable costs incurred in
          bringing this action and such other reliefs as the court deems just and proper.




                                                                                                                        Page S of 6
                         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 6 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation   of Civ 11 Rights (NonPrisoner)



VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfnvolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where caserelated papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:                          08/26/2022


                      Signature of Plaintiff
                      Printed Name of Plaintiff                 Heather Hansen

          B.          For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Address

                                                                                  City        Slate         Zip Code


                      Telephone Number
                      E-mail Address




                                                                                                                       Page 6 of 6
                                                                                     iirii1
       Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 7 of 14




HEATHER HANSEN, pro   se



                      Plaintiff

V.




TEXAS TECH UNIVERSITY SYSTEM,
TEXAS TECH UNIVERISTY HEALTH
SCIENCE CENTER EL PASO, TEXAS
TECH POLICE DEPARTMENT,
GEORGE C. STOLTZ, CARLOS
MAClAS, ANDREW VALDEZ, KYLE
K. BONATH, ERIC D. BENTLEY,

                      Defendants.
          Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 8 of 14




Defendant No.   5

Name                    Carlos Macias
Job or Title            Officer, Texas Tech Police
Address                 5001 El Paso Dr.    Texas Tech Police Department
                        El Paso, TX 79925


County                  El Paso
Telephone Number        915-215-71 11
E-mail Address
                        (x) Individual Capacity       ()Official Capacity


Defendant No. 6
Name                    Andrew Valdez
Job or Title            Corporal, Texas Tech Police

Address                 5001 El Paso Dr.    Texas Tech Police Department
                        El Paso, TX 79925


County                  El Paso
Telephone Number        915-215-7111
E-mail Address
                        (x) Individual Capacity       ()Official Capacity



Defendant No. 7
Name                    Kyle K. Bonath
Job or Title            Chief of Police, Texas Tech Police
          Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 9 of 14




Address                 413 Flint Avenue
                        Lubbock, TX 79415


County                  Lubbock
Telephone Number        806-742-3931
E-mail Address          Kyle .K.Bonath @ ttu.edu
                        (x) Individual Capacity    ()Official Capacity




Defendant No.    8

Name                    Eric D. Bentley
Job or Title            Vice Chancellor and General Counsel, Texas Tech Uni. System
Address                 1508 Knoxville Ave. Ste. 301
                        Lubbock, TX 79409


County                  Lubbock
Telephone Number        806-834-0597
E-mail Address          eric.bentley@ttu.edu
                        (x) Individual Capacity    ()Official Capacity
         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 10 of 14




1. Violation of Due Process Rights

      Neither the Texas Tech Police Department ("TTPD"), Texas Tech University

   Health Science Center El Paso ("TTUHSC EP"), or Texas Tech University System

   ("TTUS") has a written policy in regard to criminal trespass warnings, which is

   unconstitutionally vague and violates due process. The Texas Education Code is

   unconstitutional as applied to me because the absence of a valid method for

   reviewing the initial criminal trespass warning denied me due process.

      I was issued a criminal trespass warning on December 1, 2021, by Carlos Macias

   ("Officer Macias") and George Stoltz ("Lieutenant Stoltz") saying that I was banned

   from all TTUS property pursuant to section 30.05 of the Texas Penal Code. I was

   issued a criminal trespass warning on July 19, 2022, by Andrew Valdez ("Corporal

   Valdez") and Lieutenant Stoltz saying that I was banned from all TTUS property

   pursuant to section 30.05 of the Texas Penal Code.

      For both criminal trespass warnings issued I was on university property for a

   legitimate purpose, and I had no intent to commit any criminal offense. At the time

   my criminal trespass warning was issued on December    1,   2021, I was a student at

   TTUHSC EP and had multiple meetings with TTUHSC EP employees and students.

   At the time my criminal trespass warning was issued on July 19, 2022, I was

   exercising my Freedom of Expression, using the TTUHSC EP public Wi-Fi, and

   trying to schedule meetings with TTUHSC EP employees.

      For both criminal trespass warnings I was not given any opportunity to be heard

   about my ban from all TTUS property by either Officer Macias, Corporal Valdez,

   Lieutenant Stoltz, Kyle Bonath ("Chief Bonath"), TTPD, or any other TTUS
         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 11 of 14




   employee including Eric Bentley and General Counsel, implicating I was not

   afforded procedural due process. Both of my criminal trespass warnings issued were

   vague and allowed for arbitrary and discriminatory enforcement. For both criminal

   trespass warnings I was not informed why I was being issued the criminal trespass

   warning and I was not informed of an appeal process by either Officer Macias,

   Corporal Valdez, Lieutenant Stoltz, Chief Bonath, Eric Bentley or any other TTUS

   employee.

2. Violation of the   First and Fourteenth Amendments

      I repeat the allegations in the above paragraphs as if fully set forth herein. I had a

   liberty interest and fundamental right to be in public spaces at TTUHSC EP due to it

   being a limited public forum. I had a liberty interest and fundamental right to attend

   the TTUS Board of regents public meeting at Angelo State University on August 11-

   12, 2022, due to it being a designated public forum. Neither the Texas Tech Police

   Department ("TTPD"), Texas Tech University Health Science Center El Paso

   ("TTUHSC EP"), or Texas Tech University System ("TTUS") has a written policy in

   regard to criminal trespass warnings, which is unconstitutionally vague and deprived

   me of my right to Freedom of Speech. The criminal trespass statute is

   unconstitutional as applied to me because it deprived me of my liberty and property

   interest to attend the TTUS public meeting.

      The criminal trespass warning issued on July 19, 2022, was based on my decision

   to engage or perceived engagement in conduct protected by the First Amendment.

   This criminal trespass warning was given to ban my First Amendment right to free
           Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 12 of 14




   speech. Chief Bonath and Eric Bentley intentionally refused to appeal this criminal

   trespass warning in a timely manner to further ban my protected speech. Eric Bentley

   and Chief Kyle violated my exercise to Freedom of Speech and enjoyment of

   Freedom of Speech when they intentionally denied me to attend the TTUS Board of

   Regents public meeting on August 11-12, 2022, that was held on YT'US property.

3. Official Oppression

      I   repeat the allegations in the above paragraphs as if fully set forth herein. As

   described above, Defendants' conduct including intentionally denying or impeding

   my exercise and enjoyment of Freedom of Speech           was knowingly unlawful.


      The criminal trespass warning issued on July 19, 2022 by Corporal Valdez and

   Lieutenant Stoltz was based on my decision to engage or perceived engagement in

   conduct protected by the First Amendment. This criminal trespass warning was given

   to impede my First Amendment right to free speech. Chief Bonath and Eric Bentley

   intentionally refused to appeal this criminal trespass warning in a timely manner to

   further deny my right protected speech.

      Eric Bentley and Chief Kyle knowingly and intentionally violated my exercise to

   Freedom of Speech and enjoyment of Freedom of Speech when they denied me

   permission to attend the TTUS Board of Regents public meeting on August 11-12,

   2022, that was held on TTUS property. I cited to both individuals how their denial of

   my requests to attend the meeting was unconstitutional and in violation of state and

   federal law, yet they continued to deny me permission to attend.
         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 13 of 14




       Corporal Valdez, Lieutenant Stoltz, Chief Bonath, and Eric Bentley's actions

   under the color of their employment prevented me from attending the public meeting,

   which is a constitutional right for every member of the public to attend and if I were

   to have even attempted to attend the meeting, I would have been unlawfully arrested.

4. Intentional Infliction of Emotional Distress


   I repeat the allegations in the above paragraphs as if fully set forth herein. As

described above, Defendants' conduct      including serving me with two unconstitutional

criminal trespass warnings, banning me from all TTUS property, threatening to arrest me

for trespassing if I entered TTUS property, and denying me permission to attend a public

meeting, was intentional and reckless and in knowing disregard of my rights

   As described above, Defendants' conduct was extreme and outrageous, and beyond

the bounds of decency. Defendant's direct and proximate actions resulted in causing me

severe emotional distress. After the issuing of my second criminal trespass warning I

was immediately placed on an emergency detention order by TTPD Officers. The

Defendants' behavior caused me to become distraught and caused me to suffer such

extreme emotional distress that TTPD Officers believed I was a danger to myself, and I

was not allowed to leave due to the mental state I was in.

   As a result of the Defendants' behavior, including their malicious deprivation of my

civil and constitutional rights and being detained multiple times, I have suffered and

continue to suffer severe emotional distress, including increased anxiety, an inability to

sleep or eat, PTSD, panic attacks, suicidal thoughts, feeling numb and apathetic, and
         Case 3:22-cv-00293-FM Document 6 Filed 08/26/22 Page 14 of 14




being unable to focus. My mental health has significantly regressed and limited my

ability to function. This claim is brought against all Defendants.
